           Case 4:19-cv-06669-JST Document 30 Filed 04/03/20 Page 1 of 2



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7    Counsel for Plaintiff Robert Ross
8                                  UNITED STATES DISTRICT COURT
9                                 NORTHER DISTRICT OF CALIFORNIA
10                                       OAKLAND DIVISION

11   ROBERT ROSS,                               Case No. 4:19-CV-06669 (JST)
12                   Plaintiff,
                                                NOTICE OF CHANGE IN COUNSEL
             v.
13
     AT&T MOBILITY, LLC,                        Action Filed: October 17, 2019
14
                     Defendant.
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                                  NOTICE OF CHANGE IN COUNSEL
           Case 4:19-cv-06669-JST Document 30 Filed 04/03/20 Page 2 of 2




1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD AND TO THE

2    CLERK OF THE COURT:

3           Plaintiff hereby gives notice that Dwayne D. Sam, who previously entered his appearance
4    in this case, is no longer associated with Pierce Bainbridge Beck Price & Hecht LLP. For this
5
     reason, Plaintiff respectfully requests that Mr. Sam’s appearance in this action be withdrawn.
6
     Plaintiff continues to be represented by Thomas D. Warren and Andrew Calderón of Pierce
7
     Bainbridge Beck Price & Hecht LLP.
8
9    Dated: April 3, 2020                         Respectfully submitted,

10
11                                                Thomas D. Warren (SBN No.160921)
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                                                  Attorneys for Plaintiff Robert Ross
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                              NOTICE OF CHANGE IN COUNSEL
